 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 1 of 8 Page ID #:90



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 9
10                                 UNITED STATES DISTRICT COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12
13 EDWARDO MUNOZ, individually and on               Case No. 2:18-cv-03893 RGK (AGR)
   behalf of all others similarly situated,
14                                                  DEFENDANT 7-ELEVEN, INC.’S
15               Plaintiff,                         FEDERAL RULE OF CIVIL
                                                    PROCEDURE 12(B)(6) MOTION TO
16                     vs.                          DISMISS PLAINTIFF’S FIRST
                                                    AMENDED COMPLAINT
17 7-ELEVEN, INC., a Texas corporation,
                                                    [Filed concurrently with [Proposed]
18                     Defendant.                   Order]
19
                                                    Date: August 27, 2018
20                                                  Time: 9:00 a.m.
                                                    Place: Courtroom 850
21
22
                                                    Complaint Filed: May 9, 2018
23                                                  Trial Date:      None Set
24
25
26
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     SEV05-13:2237892_2:7-23-18                   -1-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 2 of 8 Page ID #:91



 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that on August 27, 2018, at 9:00 a.m., or as soon
 3 thereafter as the matter may be heard in Courtroom 850 of the United States District
 4 Court for the Central District of California, located at 255 E. Temple Street, Los
 5 Angeles, California 90012, Defendant 7-Eleven, Inc. will, and hereby does, move for an
 6 order dismissing the claims against it in the above entitled action.
 7            This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6). As
 8 explained in the accompanying Memorandum of Points and Authorities, Plaintiff has
 9 failed to plead actual facts that would show its claims are plausible as required under
10 the applicable Twombly/Iqbal standard.
11            Defendant makes this Motion following the conference of the parties pursuant to
12 L.R. 7-3, which took place on July 16, 2018. The parties had also engaged in detailed
13 meet-and-confer efforts pertaining to the original Complaint – in fact, the First
14 Amended Complaint resulted from those meet-and-confer efforts.
15            This Motion is based on this Notice of Motion, the attached Memorandum of
16 Points and Authorities, the pleadings and papers on file herein, and such other matters
17 as may be presented to the Court at the time of the hearing.
18
19 Dated: July 23, 2018                     CALL & JENSEN
                                            A Professional Corporation
20                                          Julie R. Trotter
                                            Kent R. Christensen
21                                          Delavan J. Dickson
22
23                                          By: /s/ Julie R. Trotter
                                                Julie R. Trotter
24
                                            Attorneys for Defendant 7-Eleven, Inc
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     SEV05-13:2237892_2:7-23-18                   -2-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 3 of 8 Page ID #:92



 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.         INTRODUCTION
 3            In this action, Plaintiff asserts one claim under the Fair Credit Reporting Act
 4 (“FCRA”), as well as a derivative state law claim. In her FCRA claim, Plaintiff alleges
 5 7-Eleven violated the FCRA because its one-page background check authorization form
 6 contained too much information. As explained below, and by other courts analyzing
 7 analogous forms, Plaintiff’s argument lacks merit as a matter of law and this claim
 8 should be dismissed with prejudice. Moreover, because Plaintiff’s state law claim is
 9 derivative to his FCRA claim, it should be dismissed for the same reasons. Further,
10 because there is no possible way Plaintiff could cure the fatal defects with these claims,
11 the dismissal should be with prejudice.
12
13 II.        LEGAL STANDARD
14            “To survive a motion to dismiss, a complaint must contain sufficient factual
15 matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
16 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly,
17 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads
18 factual content that allows the court to draw the reasonable inference that the defendant
19 is liable for the misconduct alleged.” Id. “Threadbare recitals of the elements of a cause
20 of action, supported by mere conclusory statements, do not suffice.” Id. Further,
21 although courts must accept all factual allegations in a complaint as true, this rule “is
22 inapplicable to legal conclusions.” See id. at 678-79. In other words, a claim that
23 consists of “naked assertions devoid of further factual enhancement” does not suffice.
24 Id. at 678 (internal quotation marks omitted).
25            In deciding whether a claim is plausible, the Court is expected “to draw on its
26 judicial experience and common sense.” Id. at 679.
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28 / / /
     SEV05-13:2237892_2:7-23-18                    -3-
         DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                                PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 4 of 8 Page ID #:93



 1 III.       DISCUSSION
 2            A.       Plaintiff’s FCRA Claim For Alleged Violation Of 15 U.S.C. Section
 3                     1681b(b)(2)(A)(i) Is Not Viable
 4            Plaintiff’s FCRA claim contends that the one-page disclosure and authorization
 5 form for 7-Eleven to obtain a “consumer report” contained too much information. As
 6 explained below, the contention fails as a matter of law.
 7            The FCRA defines the term “consumer report” as:
 8            any written, oral, or other communication of any information by a consumer
 9            reporting agency bearing on a consumer's credit worthiness, credit standing,
10            credit capacity, character, general reputation, personal characteristics, or
11            mode of living which is used or expected to be used or collected in whole or
12            in part for the purpose of serving as a factor in establishing the consumer's
13            eligibility for-- (A) credit or insurance to be used primarily for personal,
14            family, or household purposes; (B) employment purposes; or (C) any other
15            purpose authorized under section 1681b of this title.
16 See 15 U.S.C. § 1681a(d)(1). One specific kind of “consumer report” relevant here is
17 known as an “investigative consumer report,” which is defined as:
18            a consumer report or portion thereof in which information on a consumer's
19            character, general reputation, personal characteristics, or mode of living is
20            obtained through personal interviews with neighbors, friends, or associates
21            of the consumer reported on or with others with whom he is acquainted or
22            who may have knowledge concerning any such items of information.
23 See 15 U.S.C. § 1681a(e). More information must be disclosed to a person in order to
24 obtain an investitive consumer report about them relative to the information that must
25 be disclosed for other types of consumer reports. See 15 U.S.C. §§ 1681b(b)(2) and
26 1681d(a).
27 / / /
28 / / /
     SEV05-13:2237892_2:7-23-18                   -4-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 5 of 8 Page ID #:94



 1            Under 15 U.S.C. Section 1681b(b)(2)(A)(i), a prospective employer may not
 2 obtain a “consumer report” from an applicant unless it first provides the applicant with
 3 “a clear and conspicuous disclosure” in a writing “that consists solely of the
 4 disclosure.” See 15 U.S.C. § 1681b(b)(2)(A). In analyzing what may be included in
 5 such a disclosure, the FTC has advised that some additional information is acceptable as
 6 long as it does not confuse the consumer or detract from the mandated disclosure. For
 7 instance, “[i]t is permissible to include information that is closely related to the FCRA
 8 disclosure and serves to focus an applicant’s attention on the FCRA disclosure.”
 9 See Walker v. Fred Meyer, Inc., 2018 WL 2455915, *3 (D. Ore. May 7, 2018) (internal
10 quotation marks and citations omitted).
11            Plaintiff claims the one-page disclosure and authorization form he executed for 7-
12 Eleven violated the above-FCRA requirements because: (1) it provided information the
13 FCRA requires be provided for both obtaining a “consumer report” and “investigative
14 consumer report” as those terms are defined by the FCRA; (2) noted Sterling Talent
15 Solutions, Inc. would be the third party that would prepare any report obtained pursuant
16 to this form; (3) informed Plaintiff where he could find a summary of his FCRA rights;
17 (4) explained that Plaintiff was authorizing parties to provide information for such a
18 report to 7-Eleven; (5) stated that if Plaintiff executed it he would be acknowledging he
19 had both read and understood the one-page form; and (6) explained that Plaintiff’s
20 employment offer could be revoked if unacceptable information was uncovered during
21 this process. (See Compl., ¶¶ 35-37.) In other words, Plaintiff’s argument is that 7-
22 Eleven violated the FCRA by informing Plaintiff what executing the form would mean
23 in a straight-forward, concise, fashion. (Compare id. with Dkt. No. 1, Ex. A.)
24            Unsurprisingly, Plaintiff’s argument fails as a matter of law because a company
25 being upfront, clear, and direct on these matters with employee applicants does not
26 violate the FCRA’s requirements – rather, the FCRA expects companies to do exactly
27 what 7-Eleven has done with this one-page form. With respect to Plaintiff’s specific
28 contentions, 7-Eleven also notes that:
     SEV05-13:2237892_2:7-23-18                   -5-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 6 of 8 Page ID #:95



1         On the first point, the FTC advisory opinion Plaintiff relies upon to claim it is
2             improper to include the information required to obtain either a “consumer report”
3             or “investigative consumer report” in one disclosure states that it is proper to do
4             this so long as the latter disclosure is “very limited” in nature, which is obviously
5             the case with 7-Eleven’s own one-page form. (Compare Dkt. No. 1, ¶ 4) with
6             FTC             Advisory   Opinion         to      Willner,        available       at
7             https://www.ftc.gov/policy/advisory-opinions/advisory-opinion-willner-03-25-
8             99; see also Walker, 2018 WL 2455915, *1-*2, *5 (in holding form with
9             analogous provisions did not violate Section 1681b(b)(2)(A)(i) in dismissing
10            FCRA claim, stating “the fact that Fred Meyer provided Walker with a disclosure
11            that discussed both consumer reports and investigative reports does not run afoul
12            of the FRCA” in citing to the Willner Opinion letter); Coleman v. Kohl’s Dep’t
13            Stores, Inc., 2015 WL 5782352, *1-*2 (N.D. Cal. 2015) (dismissing same claim
14            against analogous form that also included disclosures for investigative consumer
15            report and other consumer reports).
16        On the second point, the fact that 7-Eleven notes Sterling would be the third party
17            procuring the report is entirely consistent with Section 1681b(b)(2)(A)(i)’s
18            requirements. Indeed, failure to make such a disclosure could have been
19            challenged as misleading. See Walker, 2018 WL 2455915, *1-*2 (holding form
20            with analogous provisions did not violate Section 1681b(b)(2)(A)(i) in dismissing
21            FCRA claim); Coleman, 2015 WL 5782352, *1-*2 (dismissing same claim
22            against analogous form that also included information regarding the party who
23            would be preparing the report).
24        On the third point, 7-Eleven was required to inform Plaintiff where he could find
25            a summary of his relevant FCRA rights as this disclosure authorized obtaining an
26            investigative consumer report. See 15 U.S.C. 1681d(a)(1).
27        On the fourth and fifth points, the FCRA required 7-Eleven to obtain
28            authorization for such a report from Plaintiff, and also allowed such authorization
     SEV05-13:2237892_2:7-23-18                   -6-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 7 of 8 Page ID #:96



 1            to be included as part of the disclosure. See 15 U.S.C. § 1681b(b)(2)(A)(ii). See
 2            Marquez v. Bank of Am., N.A., 2018 WL 1948864, *1-*2 (N.D. Cal. April 25,
 3            2018) (dismissing claim against analogous form that included similar
 4            authorizations).
 5        On the sixth point, once again, 7-Eleven informing Plaintiff of potential
 6            consequences from any report obtained not only complies with the FCRA’s
 7            requirements, but it would arguably render a disclosure form improperly
 8            misleading if it failed to do so. Coleman, 2015 WL 5782352, *1-*2 (dismissing
 9            same claim against analogous form that also noted information obtained could be
10            relied upon to make hiring decision).
11 Thus, 7-Eleven respectfully requests that the Court follow the reasoning and analysis of
12 other judges in this circuit when considering forms analogous to 7-Eleven’s here, and
13 dismiss the action. (Compare Dkt. No. 1, Ex. A) with Walker, 2018 WL 2455915, *1-
14 *2 (holding form with analogous provisions did not violate Section 1681b(b)(2)(A)(i) in
15 dismissing FCRA claim) Marquez, N.A., 2018 WL 1948864, *1-*2 (same); Coleman,
16 2015 WL 5782352, *1-*2 (same). Moreover, because allowing leave to amend on this
17 claim would be futile, 7-Eleven requests that the dismissal be with prejudice. See Curry
18 v. Yelp, Inc., 875 F.3d 1219, 1222 (9th Cir. 2017).
19            B.       The UCL Claim Fails For The Same Reasons
20            As is common, Plaintiff’s state claim under the Unfair Competition Law is
21 derivative to his other claim. (See Dkt. No. 1, ¶¶ 55-59.) As such, it fails for the same
22 reasons.
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     SEV05-13:2237892_2:7-23-18                   -7-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
 Case 2:18-cv-03893-RGK-AGR Document 24 Filed 07/23/18 Page 8 of 8 Page ID #:97



1 IV.         CONCLUSION
2             For the reasons stated above, the Court should dismiss Plaintiff’s First Amended
3 Complaint with prejudice.
4
5 Dated: July 23, 2018                       CALL & JENSEN
                                             A Professional Corporation
6                                            Julie R. Trotter
                                             Kent R. Christensen
7                                            Delavan J. Dickson
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9                                            By: /s/ Julie R. Trotter
                                                Julie R. Trotter
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11                                            Attorneys for Defendant 7-Eleven, Inc.
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     SEV05-13:2237892_2:7-23-18                   -8-
        DEFENDANT 7-ELEVEN, INC.’S FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) MOTION TO DISMISS
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
